              Case 2:08-cr-00471-KJM Document 99 Filed 09/26/13 Page 1 of 2


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 5
     Attorney for Defendant
 6   DALJIT SEKHON
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  ) Case No. CR-S-08-471 KJM
                                                )
12                       Plaintiff,             ) DEFENDANT’S UNOPPOSED MOTION
                                                ) FOR ORDER RETURNING
13         v.                                   ) DEFENDANT’S PASSPORT FOR
                                                ) TRAVEL; ORDER
14                                              )
                                                ) NO HEARING REQUESTED
15   DALJIT SEKHON,                             )
                                                )
16                Defendant.
     __________________________
17
           Defendant, DALJIT SEKHON, (hereinafter “Daljit”),
18
     through counsel files this unopposed motion for Order
19
     returning Defendant’s passport for travel.
20
           The United States’s Attorneys do not oppose the motion
21
     and have agreed that the motion should be heard by the court
22
     without the need for a hearing on the matter, and may be
23
     signed as soon as is practicable by the Court.
24
           The grounds for the motion are that defendant is going
25
     to India in November for family reasons. Defendant’s Pre-
26
     trial Services Officer, Steve Sheehan, agrees that Defendant
27
     Unopposed Motion for Order Returning Defendant’s
28   Passport for Travel
              Case 2:08-cr-00471-KJM Document 99 Filed 09/26/13 Page 2 of 2


 1   should be permitted to travel to India as described above.
 2             Based upon the grounds set forth in this unopposed
 3   motion, the government agrees with the defendant that the
 4   defendant has set forth appropriate grounds to allow
 5   Defendant to travel to India in November, which will require
 6   the return of her passport.
 7
 8   DATED: September 25, 2013.
                               Respectfully submitted,
 9
                                             MARK J. REICHEL, ESQ.
10
                                            /s/ MARK J. REICHEL
11                                           MARK J. REICHEL
                                             Attorney for defendant
12
                                              O R D E R
13
14
           IT IS SO ORDERED.             For the reasons set forth above, the
15
     court finds that Defendant should be allowed to travel to
16
     India in November and shall have her passport returned for
17
     said travel forthwith.                Upon her return to the Eastern
18
     District of California defendant shall forthwith provide her
19
     passport back to the clerk’s office.
20
21   DATED: September 25, 2013.
22
23
24                                                       UNITED STATES DISTRICT JUDGE
25
26
27
28

     Unopposed Motion for Order Returning Defendant’s
     Passport for Travel                             2
